     Case 2:23-cv-00629-CFK Document 1-1 Filed 02/17/23 Page 1 of 37




                  EXHIBIT “A”




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Case 2:23-cv-00629-CFK Document 1-1 Filed 02/17/23 Page 5 of 37
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Case 2:23-cv-00629-CFK Document 1-1 Filed 02/17/23 Page 7 of 37
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Case 2:23-cv-00629-CFK Document 1-1 Filed 02/17/23 Page 12 of 37
Case 2:23-cv-00629-CFK Document 1-1 Filed 02/17/23 Page 13 of 37
Case 2:23-cv-00629-CFK Document 1-1 Filed 02/17/23 Page 14 of 37
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Case 2:23-cv-00629-CFK Document 1-1 Filed 02/17/23 Page 17 of 37
Case 2:23-cv-00629-CFK Document 1-1 Filed 02/17/23 Page 18 of 37
Case 2:23-cv-00629-CFK Document 1-1 Filed 02/17/23 Page 19 of 37
        Case 2:23-cv-00629-CFK Document 1-1 Filed 02/17/23 Page 20 of 37


WILSON ELSER MOSKOWITZ
EDELMAN & DICKER, LLP
By: Salvatore A. Clemente, Esquire                                       Filed and Attested by the
Attorney ID: 80830                                                     Office   of Judicial Records
                                                             Attorney for Defendants,
                                                                            07 FEB 2023 11:20 am
Two Commerce Square                                          Amazon.com, Inc., d/b/a Amazon
                                                                                  S. GILLIAM
2001 Market Street, Suite 3100                               Flex, Amazon.com Services, LLC,
Philadelphia, PA 19103                                       f/k/a Amazon Fulfillment Services,
Tel. 215-627-6900                                            Inc. and Amazon Logistics, Inc.
Fax.215-627-2665
Email: Salvatore.Clemente@wilsonelser.com

 DONTE BLOCKER,                                   :         COURT OF COMMON PLEAS
                                                  :         PHILADELPHIA COUNTY
                         Plaintiff,               :
         vs.                                      :
                                                  :         CIVIL ACTION NO. 230100502
 AMAZON.COM, INC., d/b/a AMAZON                   :
 FLEX, AMAZON.COM SERVICES,                       :
 LLC, f/k/a AMAZON FULFILLMENT                    :
 SERVICES, INC. and AMAZON                        :
 LOGISTICS, INC.,                                 :
                                                  :
                         Defendants.              :


                                      ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

        Kindly enter my appearance as counsel on behalf of Defendants, Amazon.com, Inc., d/b/a

Amazon Flex, Amazon.com Services, LLC, f/k/a Amazon Fulfillment Services, Inc. and Amazon

Logistics, Inc., in the above-captioned matter.

                                                      Respectfully submitted,

                                                      WILSON, ELSER, MOSKOWITZ,
                                                      EDELMAN & DICKER LLP


                                                                            ____
                                                      Salvatore A. Clemente, Esquire
                                                      Attorney for Defendants,
                                                      Amazon.com, Inc., d/b/a Amazon
                                                      Flex, Amazon.com Services, LLC,
                                                      f/k/a Amazon Fulfillment Services,
                                                      Inc. and Amazon Logistics, Inc.
Date: February 7, 2023                                Amazon Logistics, Inc.



279908356v.1
                                                                                           Case ID: 230100502
        Case 2:23-cv-00629-CFK Document 1-1 Filed 02/17/23 Page 21 of 37




                                CERTIFICATE OF SERVICE

        I, Salvatore A. Clemente, Esquire, attorney for Defendants, Amazon.com, Inc., d/b/a

Amazon Flex, Amazon.com Services, LLC, f/k/a Amazon Fulfillment Services, Inc. and Amazon

Logistics, Inc., hereby certify that a true and correct copy of the foregoing Entry of Appearance,

was electronically filed via the Court’s electronic filing system and therefore viewable and deemed

served on all counsel of record pursuant 231 Pa. Code 205.4 (g)(2)(ii).




                                                     Salvatore A. Clemente, Esquire



Date: February 7, 2023




279908356v.1
                                                                                          Case ID: 230100502
        Case 2:23-cv-00629-CFK Document 1-1 Filed 02/17/23 Page 22 of 37


WILSON ELSER MOSKOWITZ
EDELMAN & DICKER, LLP
By: Salvatore A. Clemente, Esquire                                     Filed and Attested by the
      Jared M. Smith, Esquire                                        Office of Judicial Records
                                                                          07 FEB 2023 01:07 pm
Attorney ID: 80830/321370                                  Attorney for Defendants,
                                                                               S. GILLIAM
Two Commerce Square                                        Amazon.com, Inc., d/b/a Amazon
2001 Market Street, Suite 3100                             Flex, Amazon.com Services, LLC,
Philadelphia, PA 19103                                     f/k/a Amazon Fulfillment Services,
Tel. 215-627-6900                                          Inc. and Amazon Logistics, Inc.
Fax.215-627-2665
Email: Salvatore.Clemente@wilsonelser.com
       Jared.Smith@wilsonelser.com
                                                :
 DONTE BLOCKER,                                 :         COURT OF COMMON PLEAS
                                                :         PHILADELPHIA COUNTY
                         Plaintiff,
                                                :
         vs.                                    :
                                                :         CIVIL ACTION NO. 230100502
 AMAZON.COM, INC., d/b/a AMAZON
 FLEX, AMAZON.COM SERVICES,                     :
 LLC, f/k/a AMAZON FULFILLMENT                  :
 SERVICES, INC. and AMAZON                      :
 LOGISTICS, INC.,                               :
                                                :
                         Defendants.            :

                                      ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

        Kindly enter my appearance as co- counsel on behalf of Defendants, Amazon.com, Inc.,

d/b/a Amazon Flex, Amazon.com Services, LLC, f/k/a Amazon Fulfillment Services, Inc. and

Amazon Logistics, Inc., in the above-captioned matter.

                                                    Respectfully submitted,

                                                    WILSON, ELSER, MOSKOWITZ,
                                                    EDELMAN & DICKER LLP
                                                    s/ Jared M. Smith
                                                    Jared M. Smith, Esquire
                                                    Attorney for Defendants,
                                                    Amazon.com, Inc., d/b/a Amazon
                                                    Flex, Amazon.com Services, LLC,
                                                    f/k/a Amazon Fulfillment Services,
                                                    Inc. and Amazon Logistics, Inc.
Date: February 7, 2023                              Amazon Logistics, Inc.



279910603v.1
                                                                                       Case ID: 230100502
        Case 2:23-cv-00629-CFK Document 1-1 Filed 02/17/23 Page 23 of 37




                                CERTIFICATE OF SERVICE

        I, Jared M. Smith, Esquire, attorney for Defendants, Amazon.com, Inc., d/b/a Amazon

Flex, Amazon.com Services, LLC, f/k/a Amazon Fulfillment Services, Inc. and Amazon Logistics,

Inc., hereby certify that a true and correct copy of the foregoing Entry of Appearance, was

electronically filed via the Court’s electronic filing system and therefore viewable and deemed

served on all counsel of record pursuant 231 Pa. Code 205.4 (g)(2)(ii).



                                                    s/ Jared M. Smith
                                                    Jared M. Smith, Esquire



Date: February 7, 2023




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WILSON ELSER MOSKOWITZ
EDELMAN & DICKER, LLP
By: Salvatore A. Clemente, Esquire                                        Filed and Attested by the
      Jared M. Smith, Esquire                                           Office of Judicial Records
      Lauren B. Orner, Esquire                                               07 FEB 2023 01:15 pm
Attorney ID: 80830/321370/313078                                                   S. GILLIAM
                                                             Attorney for Defendants,
Two Commerce Square                                          Amazon.com, Inc., d/b/a Amazon
2001 Market Street, Suite 3100                               Flex, Amazon.com Services, LLC,
Philadelphia, PA 19103                                       f/k/a Amazon Fulfillment Services,
Tel. 215-627-6900                                            Inc. and Amazon Logistics, Inc.
Fax.215-627-2665
Email: Salvatore.Clemente@wilsonelser.com
        Jared.Smith@wilsonelser.com
        Lauren.Orner@wilsonelser.com

                                                  :
 DONTE BLOCKER,                                   :          COURT OF COMMON PLEAS
                                                  :          PHILADELPHIA COUNTY
                          Plaintiff,
                                                  :
         vs.                                      :
                                                  :          CIVIL ACTION NO. 230100502
 AMAZON.COM, INC., d/b/a AMAZON
 FLEX, AMAZON.COM SERVICES, LLC,                  :
 f/k/a AMAZON FULFILLMENT SERVICES,               :
 INC. and AMAZON LOGISTICS, INC.,                 :
                                                  :
                          Defendants.             :
                                                  :
                                                  :

                                        ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

        Kindly enter my appearance as co-counsel on behalf of Defendants, Amazon.com, Inc., d/b/a

Amazon Flex, Amazon.com Services, LLC, f/k/a Amazon Fulfillment Services, Inc. and Amazon Logistics,

Inc., in the above-captioned matter.

                                                      Respectfully submitted,

                                                      WILSON, ELSER, MOSKOWITZ,
                                                      EDELMAN & DICKER LLP
                                                      s/ Lauren B. Orner
                                                      Lauren B. Orner, Esquire
                                                      Attorney for Defendants,
                                                      Amazon.com, Inc., d/b/a Amazon
                                                      Flex, Amazon.com Services, LLC,
                                                      f/k/a Amazon Fulfillment Services,
                                                      Inc. and Amazon Logistics, Inc.
Date: February 7, 2023                                Amazon Logistics, Inc.




279909711v.1
                                                                                            Case ID: 230100502
        Case 2:23-cv-00629-CFK Document 1-1 Filed 02/17/23 Page 25 of 37




                                    CERTIFICATE OF SERVICE

        I, Lauren B. Orner, Esquire, attorney for Defendants, Amazon.com, Inc., d/b/a Amazon Flex,

Amazon.com Services, LLC, f/k/a Amazon Fulfillment Services, Inc. and Amazon Logistics, Inc., hereby

certify that a true and correct copy of the foregoing Entry of Appearance, was electronically filed via the

Court’s electronic filing system and therefore viewable and deemed served on all counsel of record pursuant

231 Pa. Code 205.4 (g)(2)(ii).



                                                         s/ Lauren B. Orner
                                                         Lauren B. Orner, Esquire



Date: February 7, 2023




279909711v.1
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1RWDU\3XEOLF           Dustin Drake
 Type of Identification Produced _______
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    Case 2:23-cv-00629-CFK Document 1-1 Filed 02/17/23 Page 31 of 37


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